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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION

UNITED STATE OF AMERICA,

       Plaintiff,

vs.                                                Case No. 23-CR-20116
                                                   District Judge Thomas L. Ludington
JOANNE DAVENPORT,

      Defendant.
______________________________/

                   SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION
                FOR EXPERT FUNDS PURSUANT TO 18 U.S.C. § 3006A(e)

       Undersigned counsel filed a Motion for Expert Funds Pursuant to 18 U.S.C. § 3006A(e)

on June 20, 2024. The Assistant United States Attorney concurred with the relief requested in

the Motion. On July 17, 2024, an "In Person" Status Conference with held to discuss the merits

of a polygraph examination in the instant matter. Counsel for Defendant and the Assistant

United States Attorney have agreed to "Forensic Polygraph Services Inc.", a subdivision of

Myres and Ruffino Polygraph, 13407 Farmington Road, Suite 100, Livonia, Michigan, 48150.

The cost for the examination and report is $850.00. The polygraph examination is tentatively

scheduled for August 20, 2024, at 12:00 noon at the Livonia address.

                                                   Respectfully submitted,


                                                    /s/ Russell J. Perry, Jr.
                                                   Russell J. Perry, Jr.
                                                   Attorney for Defendant
                                                   4407 State Street
                                                   Saginaw, Michigan 48603
                                                   Phone: (989) 792-4395
                                                   Email: fahuat1@msn.com
                                                   [Bar Number: P26894]
Dated: August 13, 2024
Case 1:23-cr-20116-TLL-PTM ECF No. 33, PageID.119 Filed 08/13/24 Page 2 of 2




                            UNITED STATE DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION

UNITED STATE OF AMERICA,

       Plaintiff,

vs.                                                  Case No. 23-CR-20116
                                                     District Judge Thomas L. Ludington
JOANNE DAVENPORT,

       Defendant.

______________________________/

                                CERTIFICATE OF SERVICE

       I, RUSSELL J. PERRY, JR., hereby certify that on the 13th day of August, 2024, I

electronically filed the SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR EXPERT

FUNDS PURSUANT TO 18 U.S.C. § 3006A(e) with the Clerk of the Court Using the E.C.F.

system which will send notification of such filing to the following:


       U.S. Attorney, 101 First Street, Suite 200, Bay City, Michigan 48708-5747



                                                     /s/ Russell J. Perry, Jr.
                                                     Russell J. Perry, Jr.
                                                     Attorney for Defendant
                                                     4407 State Street
                                                     Saginaw, Michigan 48603
                                                     Phone: (989) 792-4395
                                                     Email: fahuat1@msn.com
                                                     [Bar Number: P26894]




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